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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DISTRICT


UNITED STATES OF AMERICA
                                             No. 19 CR 322
              v.
                                             Judge Robert M. Dow, Jr.
EDWARD M. BURKE,
PETER J. ANDREWS, and
CHARLES CUI



                                      ORDER

      Defendants having filed pretrial motions in the above-captioned case, and

based upon the parties’ agreement, it is hereby ORDERED as follows:

      1.     The government’s briefs in response to defendants’ pretrial motions

shall be due on or before January 20, 2021. Any reply briefs are due on or before

March 22, 2021.

      2.     On or before January 11, 2021, the parties shall submit to the

Courtroom Deputy a proposal (agreed, if possible) regarding page limits for the

response and reply briefs.

      3.     The due dates for responses and replies to pretrial motions previously

set in Docket No. 125 are hereby stricken.

                                               ENTER:


                                               ROBERT M. DOW, JR.
                                               United States District Judge

Date: 10/29/2020
